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                                                      May 20, 2021



VIA ECF

Honorable John P. Cronan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

  RE:       In re Luckin Coffee Inc. Securities Litigation, Case No. 1:20-cv-012393-JPC

Dear Judge Cronan,

        We are counsel to Kingstown Capital Management, LP, Kingstown Partners Master Ltd.,
Kingstown Partners II L.P., Ktown LP, Kingfishers, LP, and Kingstown 1740 Fund LP
(“Kingstown”), who were investors in Luckin Coffee Inc. (“Luckin”), and are plaintiffs in
Kingstown Capital Management, LP, et al. v. Luckin Coffee Inc. et al., 1:20-cv-07029-JPC, a
related proceeding pending before this Court.

          Kingstown, which sustained over $22 million in damages as a result of Kingstown’s
investment in Luckin, supports the pending motion to intervene filed by the Winslow Funds (and
relief sought by Winslow Funds), see Dkt. No. 265, and, if pre-motion leave is required, seeks to
file its own motion to intervene, Memorandum of Law/Joinder in Winslow’s Intervention Motion
and proposed order, in the form annexed hereto. See Exhibits A, B, and C hereto. The attached
joinder/motion to intervene adopts and incorporates by reference the arguments made and relief
sought in the Winslow Funds’ motion. See Exhibit B.

       We are mindful that the Court has set a May 25, 2021 deadline for letter responses to the
Winslow Funds’ motion to intervene, and a May 28, 2021, 2:00 p.m. teleconference to discuss
the Winslow Funds’ motion. See Dkt. No. 268 (Order). Kingstown proposes that the schedule
set by the Court for the Winslow Funds’ motion to intervene apply to Kingstown’s
proposed motion, given the identity of issues involved, and Kingstown’s adoption of the
Winslow Funds’ arguments.
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                                                Respectfully submitted,




                                                Sigmund S. Wissner-Gross

Enclosures


cc:   All Counsel of Record (via ECF, with Enclosures)
